
PER CURIAM.
Samuel J. Gardner petitions for a belated appeal, contending that he did not receive a copy of a trial court order denying his motion to correct illegal sentence until after the time for taking an appeal from the order had expired. The state expresses no opposition. Accordingly, we grant belated appeal from the order issued July 1, 1999, in Leon County case number R86-1709 AF. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the trial court to be *1246treated as a notice of appeal. Fla. R.App. P. 9.140(d)(6)(D).
PETITION GRANTED.
JOANOS, LAWRENCE and DAVIS, JJ., concur.
